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                                                                                   FILED
                                                                              IN OPEN COURT
                  IN THE UNITED STATES DISTRICT COURT 70I THE

                                                                             JUL 2 4 20»
                                        Norfolk Division
                                                                        OLERK, U.S. DISTRICT COURT
                                                                              NORFOLK,VA
UNITED STATES OF AMERICA

             V.

                                                    Criminal No.2:19crll8
FORREST SEWER PUMP
SERVICE,INC.,

             Defendant.


                                     PLEA AGREEMENT

      G.Zachary Terwilliger, United States Attorney for the Eastern District of Virginia, and

Joseph L. Kosky, Assistant United States Attorney, along with the defendant, FORREST

SEWER PUMP SERVICE,INC.(FORREST SEWER),represented by attorney Gary Bryant,

have entered into a plea agreement pursuant to Rule 11(c)(1)(B)ofthe Federal Rules of Criminal

Procedure. The terms ofthe agreement are as follows:

               I. Offense and Maximum Penalties:

       The defendant agrees to waive indictment and plead guilty to a one count Criminal

Information. The information charges the defendant with the knowing introduction oftrucked

and hauled pollutants {i.e., wastewater and grease)into the Hampton Roads Sanitation District

sewage treatment system, a publicly owned treatment works(POTW),via undesignated

discharge points, in violation ofthe Clean Water Act National Pretreatment Standards specific

prohibition under 40 C.F.R § 403.5(b)(8) against introducing trucked or hauled pollutants at

discharge points that were not designated as such by the POTW,on numerous occasions and

locations,from in and around 2014(specific date unknown)to on or about July 21,2016,in

violation of33 U.S.C. § 1319(c)(2), and 18 U.S.C. § 2.
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        The maximum penalties for the coimt of conviction are;(a)at least one but no more than

five years ofprobation;(b)a minimum fine of$5,000 and a maximum fine of$50,000 per day of

violation, or $500,000 per count, or an amount not greater than twice the gross gain or loss from

the offense; and(d)a $400 special assessment per count. 33 U.S.C. §1319(c)(2), and 18 U.S.C.

§§3013,3561, and 3571(c).

               2. Sentencing Guidelines

        The United States and FORREST SEWER agree that the 2018 United States Sentencing

Commission Guidelines Manual will be used in this case.

        The United States and defendant FORREST SEWER further agree that the provisions of

Chapter 8 ofthe United States Sentencing Guidelines, which pertain to fines imposed on

organizational defendants such as FORREST SEWER do not apply to environmental offenses,

including Clean Water Act violations. See Title 18, United States Code, Sections 3553 and 3572

and U.S.S.G. Sections 8C2.1, Background, and 8C2.10.

       The United States and FORREST SEWER further agree that the remaining provisions of

Chapter 8 of the Sentencing Guidelines apply to corporate defendant FORREST SEWER.

               3. The Sentence


       Pursuant to Fed. R. Crim. P. 11(c)(1)(B), the United States and the defendant agree to

jointly recommend that the sentence to be imposed by the Court shall include the following

components.

       (a) Imposition of a $50,000 fine, authorized under the Alternative Fines Act, 18 U.S.C.

§ 3571(d), of which $10,000 shall be paid to the Clerk, United States District Court, at the time

of sentencing; defendant shall pay the remainder fine amount, in yearly installments no less than
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$10,000 until the fine is paid in full, within the term ofprobation imposed by the court.

       (b) Placement ofFORREST SEWER on probation for five years on the terms and

conditions contained in paragraph 4 below;

       (c) The parties agree that restitution is inapplicable.

       (d) Special Assessment ~ Before sentencing in this case, the defendant agrees to pay a

mandatory special assessment of$400.00.

       (e) Early Termination ofProbation ~ IfFORREST SEWER fully complies with

probation, pays the fine in full, and establishes a satisfactory Environmental Compliance

Program,the United States will not object to a motion by FORREST SEWER to terminate

probation after FORREST SEWER has served a minimum ofthree years of probation.

        The parties understand that these recommendations are not binding on the Court, and that

the defendant has no right to withdraw the plea if the court does not follow the recommendation

or requests proposed here.

                4. Conditions of Probation


        As part of its conditions of probation, FORREST SEWER agrees to the following:

                        A. Environmental Compliance Program

       FORREST SEWER acknowledges that the United States Sentencing Guidelines require

the Court to determine whether a defendant has an effective program to detect and prevent

violations oflaw pursuant to Chapter 8, Section 8B2.1, and Section 8C2.5(Q. Accordingly,

FORREST SEWER will develop and implement an Environmental Management System(EMS)

at its facility which satisfies this requirement.

       FORREST SEWER will submit an outline and schedule ofits plan to develop and
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implement the EMS,including time lines and milestones with applicable dates, to the Court for

review and approval at sentencing. The U.S. Probation Office in consultation with the EPA and

the United States Attorney's Office, if necessary will have the right to periodically monitor the

approved EMS during the probationary period and bring any violations to the attention of

FORREST SEWER for corrective action, and to the Court, if corrective actions are not taken

timely. At a minimum,the program will consist ofthe following:

               1. Developing an environmental compliance manual covering general areas of

federal, state and local environmental regulations, including management ofindustrial

wastewater and grease; regulatory agency notifications in case of spills, releases, emissions or

discharges of pollutants into the environment; dealings with regulatory inspectors and personnel,

and the importance ofaccuracy,timeliness and honesty in reporting to regulatory agencies all

information required by the Clean Water Act and other federal and state environmental statutes,

regulation, programs and permits.

              2. FORREST SEWER will assure that there is a system in place under which its

employees are made aware they can report allegations of environmental noncompliance to the

appropriate federal, state and local regulatory agency, without fear ofretribution. U.S.S.G. §

8B2.1 (b)(5)(C).

              3. FORREST SEWER will set up a system for providing systematic training to

new employees and refresher training for other employees on federal, state and local

environmental statutes and regulations.

                      B. Environmental Audit


       FORREST SEWER shall engage an independent environmental consultant to conduct
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annual environmental audits ofits facility during the period of probation. The environmental

auditor will follow generally accepted environmental auditing techniques, procedures and

policies in designing and executing the audits, including the reporting of deficiencies and

corrective measures. Defendant shall provide a copy ofthe annual audits to the U.S. Probation

Office, and the United States Attorney's Office, for their review.

                5. Corporate Authorization

         The defendant will provide to the Court and to the United States written evidence in the

form of a notarized resolution ofthe Board of Directors with both notary and corporate seals,

certifying that the defendant corporation is authorized to plead guilty to the charges set forth in

the Information, and to enter into and comply with all provisions ofthis agreement. The

resolution shall further certify that the persons representing the defendant corporation are

authorized to take these actions and that all corporate formalities, including but not limited to,

approval by the defendant's directors, required for such authorization, have been observed.

                6. Organizational Changes

         The defendant shall not, through a change of name, business reorganization, sale or

purchase of assets, divestiture of assets, or any similar action, seek to avoid the obligations and

conditions set forth in this plea agreement. This plea agreement,together with all ofthe

obligations and terms hereof, shall inure to the benefit ofand bind partners, assignees,

successors-in-interest, or transferees ofthe defendant. Any sale, transfer, or other re

organization ofthe business as referenced in this paragraph shall be subject to approval ofthe

Court.
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               7. Factual Basis for the Plea


       The defendant will plead guilty because the defendant is in fact guilty ofthe charged

offenses. The defendant admits the facts set forth in the statement of facts filed with this plea

agreement and agrees that those facts establish guilt ofthe offense charged beyond a reasonable

doubt. The statement offacts, which is hereby incorporated into this plea agreement, constitutes

a stipulation offacts for purposes of Section IB 1.2(a) ofthe Sentencing Guidelines.

               8. Assistance and Advice of Counsel

       The defendant is satisfied that its attorneys have rendered effective assistance. The

defendant understands that by entering into this agreement, defendant surrenders certain rights as

provided in this agreement. The defendant understands that the rights of criminal corporate

defendants include the following:

               a.     the right to plead not guilty and to persist in that plea;

               b.     the right to ajury trial;

               c.     the right to be represented by counsel; and

               d.     the right at trial to confront and cross-examine adverse witnesses, to testify

                      and present evidence, and to compel the attendance of witnesses.

              9. Role of the Court and the Probation Office

       The parties agree that this agreement was negotiated and agreed upon pursuant to Federal

Rule of Criminal Procedure 11(c)(1)(B). The defendant has no right to withdraw the plea ifthe

court does not follow the recommendation or request.

              10. Waiver of Appeal

       The defendant also understands that Title 18, United States Code, Section 3742(a)affords
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 a defendant the right to appeal the sentence imposed. Nonetheless, the defendant knowingly

 waives the right to appeal the conviction and sentence imposed, unless the sentence is in

 violation ofthe law.


                11. Immunity from Further Prosecution in this District

        In return for the complete fulfillment by the defendant of its obligations under this

agreement, the United States will not further criminally prosecute the defendant, or the

company's Operations Manager, Derrick Whitehurst, in the Eastern District of Virginia for the

criminal conduct known to the government, as set forth in the Criminal Information, and the

Statement of Facts, or other violations offederal criminal law associated with the criminal

conduct set forth in the Criminal Information and the Statement ofFacts, which is known to the

government as ofthe date ofsentencing.

                12. Breach of the Flea Agreement and Remedies

        This agreement is effective when signed by the defendant, the defendant's attorneys, and

an attorney for the United States. The defendant agrees to entry ofthis plea agreement at the

date and time scheduled with the Court by the United States (in consultation with the defendant's

attorneys). Ifthe defendant withdraws from this agreement, or commits or attempts to commit

any additional federal, state or local crimes, or intentionally gives materially false, incomplete, or

misleading testimony or information, or otherwise violates any provision ofthis agreement, then:

        a. The United States will be released from its obligations under this agreement. The

defendant, however, may not withdraw the guilty plea entered pursuant to this agreement;

       b. The defendant will be subject to prosecution for any federal criminal violation,

including, but not limited to, perjury and obstruction ofjustice, that is not time-barred by the
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applicable statute oflimitations on the date this agreement is signed. Notwithstanding the

subsequent expiration ofthe statute oflimitations, in any such prosecution, the defendant agrees

to waive any statute-of-limitations defense; and

       c. Any prosecution, including the prosecution that is the subject ofthis agreement, may

be premised upon any information provided, or statements made, by the defendant, and all such

information, statements, and leads derived therefrom may be used against the defendant. The

defendant waives any right to claim that statements made before or after the date ofthis

agreement, including the statement offacts accompanying this agreement or adopted by the

defendant and any other statements made pursuant to this or any other agreement with the United

States, should be excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 11(f), the

Sentencing Guidelines or any other provision ofthe Constitution or federal law.

       Any alleged breach ofthis agreement by either party shall be determined by the Court in

an appropriate proceeding at which the defendant's disclosures and documentary evidence shall

be admissible and at which the moving party shall be required to establish a breach ofthe plea

agreement by a preponderance ofthe evidence.

               13. Nature of the Agreement and Modifications

       This written agreement constitutes the complete plea agreement between the United

States, the defendant, and the defendant's counsel. The defendant and its counsel acknowledge

that no threats, promises, or representations have been made, nor agreements reached, other than

those set forth in writing in this plea agreement, to cause the defendant to plead guilty. Any

modification ofthis plea agreement shall be valid only as set forth in writing in a supplemental

or revised plea agreement signed by all parties.

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                                   G.Zachary Terwilliger
                                   Unitod-Sf^tes Attorne



                             By;
                                   Joseph L. Kosky
                                   Assistant United States Attorneys
                                   Attorney for the United States
                                   United States Attorney's Office
                                   101 West Main Street, Suite 8000
                                   Norfolk, VA 23510
                                   Office Number - 757-441-6331
                                   E-Mail - ioseph.koskv@,usdoi.eov
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        Defendant's Signature: I hereby agree that I have consulted with my attorney and fully

 understand all rights with respect to the pending criminal information. Further, I fully

 understand all rights with respect to Title 18, United States Code, Section 3553 and the

 provisions ofthe Sentencing Guidelines Manual that may apply in my case. I have read this

 plea agreement and carefully reviewed every part of it with my attorneys. I understand this

agreement and voluntarily agree to it.

                                      FORREST SEWER PUMP SERVICE,INC.

        Date:                                          0.

        Defense Counsel Signature: We are counsel for the defendant in this case. We have

fully explained to the defendant the defendant's rights with respect to the pending information.

Further, we have reviewed Title 18, United States Code, Section 3553 and the Sentencing

Guidelines Manual, and we have fully explained to the defendant the provisions that may apply

in this case. We have carefully reviewed every part ofthis plea agreement with the defendant.

To our knowledge,the defendant's decision to enter into this agreement is an informed and

voluntary one.


        Date:
                                      Gary B
                                      Attom*         FORREST SEWER PUMP SERVICE,INC.




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                                     U. S. DEPARTMENT OF JUSTICE
                                  Statement of Special Assessment Account

   This statement reflects your special assessment only. There may be other penalties imposed at sentencing.


  ACCOUNT INFORMATION


CRM.ACTION NO.:                       2:19crll8

DEFENDANT'S NAME:                     FORREST SEWER PUMP SERVICE,INC.

PAY THIS AMOUNT:                      $400.00


  INSTRUCTIONS


           1.      MAKE CHECK OR MONEY ORDER PAYABLE TO:
                   CLERK, U.S. DISTRICT COURT

                  PAYMENT MUST REACH THE CLERK'S OFFICE BEFORE YOUR
                  SENTENCING DATE


                  PAYMENT SHOULD BE SENT TO:



                                       In person(9 AM to 4 PM)            By mail:

    Alexandria cases:                  Clerk, U.S. District Court
                                       401 Courthouse Square
                                       Alexandria, VA 22314

    Richmond cases:                    Clerk, U.S. District Court
                                       701 East Broad Street, Suite 3000
                                       Richmond,VA 23219

    Newport News cases:                Clerk, U.S. District Court
                                      2400 West Ave,Ste 100
                                       Newport News,VA 23607


    Norfolk cases:                     Clerk, U.S. District Court
                                      600 Granby Street
                                       Norfolk, VA 23510

          4.      INCLUDE DEFENDANT'S NAME ON CHECK OR MONEY ORDER
          5.      ENCLOSE THIS COUPON TO INSURE PROPER and PROMPT APPLICATION
                  OF PAYMENT




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